          Case 1:23-cr-00035-RC Document 70 Filed 02/16/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         :
                                 :
            v.                   :                   Case No.: 1:23-CR-35
                                 :
CASEY JANE TRYON-CASTRO et. al., :
                                 :
               Defendants.       :


                          NOTICE OF ATTORNEY APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to Assistant

United States Attorney, Kaitlin Klamann, who may be contacted by telephone at (202) 252-

6778 or by email at Kaitlin.klamann@usdoj.gov. This is notice of her appearance in this

matter on behalf of the United States.

                                                           Respectfully submitted,

                                                           MATTHEW M. GRAVES
                                                           United States Attorney
                                                           DC Bar No. 481052

                                                   By:     /s/ Kaitlin Klamann
                                                           KAITLIN KLAMANN
                                                           Assistant United States Attorney
                                                           601 D Street NW
                                                           Washington, D.C. 20530
                                                           (202) 252-6778
                                                           Kaitlin.klamann@usdoj.gov
                                                           IL Bar No. 6316768
           Case 1:23-cr-00035-RC Document 70 Filed 02/16/23 Page 2 of 2



                                CERTIFICATE OF SERVICE

       On this 16th day of February 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.



                                                           /s/ Kaitlin Klamann
